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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

    UNITED STATES OF AMERICA

                Plaintiff,                        Criminal No. 19-cr-20026

                                                  HON. GERSHWIN A. DRAIN
    V.

    D-3 PHANIDEEP KARNATI,


                Defendant.


             SUPPLEMENTAL SENTENCING MEMORANDUM


          Although the government's sentencing memorandum cites a January

    16, 2018, WhatsApp chat between Mr. Karnati and "Naveen," it omits the

    most relevant correspondence that occurred between the parties. In fact the

    following exchange occurs in the same chat relied upon by the government:


              ------ -------------- ---- ---- -
              From: -             . whatsapp. net naveen (
              Timestamp: L/16/2018 06:30(UTC- 5)
              Source App: WhatsApp
              Body:
              fi nal question is does Farmington ha s Class based p~ogram or not?
              -- ----- --- -------------------
             From: From: 15027759375@s.whatsapp. net Phanideep (owner)
             Timestamp: 1/16/2018 06:30(UTC - 5)          ·
             Source App: WhatsApp
             Body:
             Online [
                   -------- --- -- ---------- -
Case 2:19-cr-20026-GAD-EAS ECF No. 135 filed 01/08/20   PageID.1058   Page 2 of 2
